      Case: 1:21-cv-05079 Document #: 4 Filed: 10/18/21 Page 1 of 1 PageID #:17




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 GEORGE MOORE, on behalf of himself and            :
 others similarly situated,                        :   CIVIL ACTION FILE NO. 21-cv-5079
                                                   :
        Plaintiff,                                 :
                                                   :
 v.                                                :
                                                   :
 AUTO PROTECHT LLC d/b/a PAYLESS                   :
 REPAIR BILLS,                                     :
                                                   :
        Defendant.                                 :
                                                   :
                                               /

                             PLAINTIFF’S NOTICE OF DISMISSAL

       The plaintiff George Moore files Notice of Dismissal without Prejudice pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(i).


                                           Respectfully submitted,

                                           /s/ Anthony I. Paronich
                                           Anthony I. Paronich
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                                           Counsel for Plaintiff

Dated: October 18, 2021

                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed through the Court’s CM/ECF

system on October 18, 2021.

                                           /s/ Anthony I. Paronich
                                           Anthony I. Paronich
